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                      EXHIBIT B
             Board of Directors’ Resolutions




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                           RESOLUTIONS OF THE BOARD OF DIRECTORS
                                                OF
                                          NBS IP INC.
                                      (the "Corporation")


The undersigned, being all of the directors of the Corporation, acting by written resolution in lieu
of a meeting pursuant to the provisions of the British Columbia Business Corporations Act (the
"Act") hereby adopt the following resolutions:
WHEREAS, the Corporation is having financial difficulties and is no longer able to meet its
obligations as they generally fall due.
AND WHEREAS, all of the directors of the Corporation deem it to be in the best interests of the
Corporation to initiate proceedings to restructure its business and affairs under the Companies’
Creditors Arrangement Act, R.S.C. 1985, c C-36 (“CCAA”).
AND WHEREAS, all of the directors of the Corporation deem it to be in the best interests of the
Corporation to obtain interim financing under the provisions of the CCAA (the “Interim
Financing”).
AND WHEREAS, as security for the obligations of the Corporation in respect of the Interim
Financing, the Corporation intends to mortgage, charge, assign, and otherwise transfer and
encumber and grant a security interest in all of the Corporation's present and future assets,
property and undertaking now or hereafter acquired (the “Property”)

NOW THEREFORE:

RESOLVED, that the Corporation be, and it hereby is, authorized and directed to (i) initiate
proceedings to seek protection from its creditors under the CCAA (the “Restructuring
Proceeding”), (ii) seek to have the Restructuring Proceeding and all court orders made therein
recognized in the United Status under Chapter 15, Title 11 of the United States Bankruptcy
Code; (iii) take such actions, steps and proceedings as may be necessary or desirable to effect a
restructuring of its business and affairs under the CCAA, including, without limitation, the
seeking of an initial order under the CCAA and effecting an orderly sale of some or all of its
assets or business; and (iv) retain and instruct Fasken Martineau DuMoulin LLP as legal counsel
to the Corporation in relation to the Restructuring Proceeding, KSV Restructuring Inc. to act as
monitor of the Corporation in the Restructuring Proceeding, and such other legal and other
professionals as are necessary to or desirable to give effect to these resolutions.

RESOLVED, that the Corporation be, and it hereby is, authorized and directed to obtain Interim
Financing from a lender and on terms acceptable to the Corporation.

RESOLVED, that the Corporation be, and it hereby is, authorized to secure the repayment of the
Interim Financing by mortgaging, charging, assigning and otherwise granting a security interest
in the Property in favour the lender advancing the Interim Financing (the “Security”).




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RESOLVED, that the Corporation be, and it hereby is, authorized and directed to execute and
deliver such documents, affidavits, agreements, certificates, waivers, consents, postponements or
instruments as may be contemplated by, or required to give effect to the Restructuring
Proceeding and the Interim Financing (collectively, the “Documents”).

RESOLVED, that William Tucker (the "Authorized Officer") is hereby authorized and
empowered to execute and deliver the Documents, including all exhibits and schedules attached
thereto, in the name and on behalf of the Corporation with such additions, deletions or changes
therein as the Authorized Officer executing the same shall approve (the execution and delivery
thereof by any such Authorized Officer to be conclusive evidence of his or her approval of any
such additions, deletions or changes).

RESOLVED, the Authorized Officer is hereby authorized and empowered to take all such
further action and to execute and deliver all such further documents, agreements, certificates,
waivers, consents, postponements or instruments, amendments, additions or deletions, in the
name and on behalf of the Corporation (under its corporate seal or otherwise) as they shall deem
necessary, desirable or appropriate to consummate, effectuate, implement, carry out or further
the transactions contemplated by the foregoing resolutions.

THE UNDERSIGNED, being all the directors of the Corporation entitled to vote at a meeting,
hereby pass these resolutions pursuant to the provisions of the Act. These resolutions may be
signed in as many counterparts as may be necessary, each of which shall be deemed an original
(including those transmitted electronically or by facsimile) and all of which shall be deemed one
instrument.

Dated the ___ day of January, 2024


                           ______________________
                           WILLIAM TUCKER




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